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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OP ILLINOIS
                                  EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                         No. 17 Clv. 5124
                             Plaintiffs,

             v.


   11E1) BATH & BEVONI)
                             Defendant.



                                 DECLARATION OF KEN LEASURE

        I, KEN LEASURE, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

        1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.         All of the statements in this Declaration are true and accurate to the best   of my
knowledge.

       3.         The facts set forth in this Declaration are based (111 my own personal knowledge of

the particular stores in which I have worked and of the stores that I oversee in my District.

       4.         I became employed by Bed Bath and Beyond Inc. ("BBB") on March 18, 2002 as

a Department Manager. I was eventually promoted to the position of Assistant Store Manager

("ASM") and then to Store Manager. In March of 2011, I wa4) promoted to Area Manager and

served in that role for approximately 1.5 years until I was promoted to my current role as a

District Manager in 2012. In my current capacity as a District Manager. I oversee 8 stores



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primarily ranging in volume from low volume to mid volume. with one very high volume store.

My stores are primarily in Texas, and I have 3 stores in Arkansis.

        5.     Typically, a BBB District Manager has responsibility for a number of stores in a

particular geographic area. Reporting to the District Manager are Store Managers, each of whom

is responsible for a single store. The Store Managers, in turn, have Assistant Store Managers

reporting to them. In my District, each store has between I and 3 ASMs. Each store has between

0 and 2 Department Supervisors who report to the ASMs.         ASMs   also oversee hourly store

associates. The number of hourly associates varies greatly from store to store, with my lower

volume stores having fewer than 20 associates and my very high volume store having 50.

        6.     There are two types of ASMs at BBB: Operations Managers and Merchandise

Assistant Managers. All ASMs in my District are classified as epmpt employees.

        7.     Both Operations Managers and Merchandise Assistant Managers are expected to

do primarily exempt work. The responsibilities required of an ASM vary as a result of a number

of factors.

        8.     One of these factors is store volume. While their exempt responsibilities remain

the same, their individual experience varies. For example. in low volume stores where there may

only be 1 ASM, they are typically always involved in the hiring and interviewing process

together with the Store Manager than in a high volume store where there are more ASMs

available to assist with the process.

        9.     Similarly, local management and the Store Manager of each store affect an

ASM's experience. If a Store Manager is laidback, often timps the ASMs take on the role of

holding associates accountable and issuing the discipline. Conversely, if a Store Manager is




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stricter, ASMs sometimes may take a more passive role with respect to discipline so as to avoid

discouraging their associates.

       10.     The personality of each ASM also plays a role, as some ASMs prefer to do some

operational tasks themselves, whereas others delegate more tasks.

       11.     The length of time each ASM has served in them position also affects the amount

of time they spend performing managerial duties. Sometimes, newly promoted ASMs tend to fall

back into their old role and perform as a Department Supervisor or associate rather than

performing the exempt duties expected of them in their new position as ASM.

       12.     Additionally, ASMs are designated as the "Leader on Duty," (`'LOD") which

affords them an opportunity to assume extra exempt responsibilities. Serving as the LOD means

that the person designated as LOD is the decision maker for the store, managing service levels.

safety, applicant flow and other areas. In higher volume stores; there is a LOD from opening to

closing, whereas in lower volume stores, there is only a LOD ffom 11 a.m. to 6 p.m. Further. in

higher volume stores, the LOD role is typically always fulfilled by ASMs. whereas in lower

volume stores, Department Supervisors sometimes assist in the f,OD role because there are fewer

managers available.

       13.     In certain markets, BI313 receives fewer employment applications than in other

areas. For example, certain towns in Arkansas have a high ratio of retailers vs. local consumers,

so there are typically fewer applicants throughout the year. Exempt duties such as reviewing

applications, conducting interviews, and offering employment to applicants consumes more of an

ASM's time in a store with a high applicant flow.

       14.     In my experience, ASMs are important members of management. They are the

leaders of the store, in charge of assisting the Store Manager with running the store, and are




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responsible for training and developing the associates. When a fitore Manager is not at the store.

the Assistant Store Manager is in charge of the entire store.

         15.   Adam Hall was employed as an Assistant Store Manager in Store 1275 in my

District in Fort Smith, Arkansas. Store 1275 is a low volume store with only 1 ASM, 2

Department Supervisors, and approximately 20 associates. As Eel ASM, Adam lacked the ability

to effectively manage his team. He had inappropriate personal relations with his associates

outside of the store that impacted his ability to objectively manage the associates during work

hours.

         16.   Adam also abused his managerial authority during his time as an ASM.

Specifically, Adam was accused of propositioning one of his associates about joining him and

his wile for sexual relations and allegedly conveyed to the associate that they were "swingers."

         17.   We also received a complaint from a Department Supervisor that Adam sent

inappropriate and explicit photographs through a social media platform.

         18.   After being confronted by the District Manager of Human Resources about these

accusations, Adam's performance drastically reduced.

         19.   Before the Company had the opportunity to 11411y investigate and act on these

accusations, Adam voluntarily resigned from BBB.

         20.   Subsequent to his resignation, the Department Supervisor to whom Adam sent

explicit photographs informed the Store Manager that Adam 110 allegedly entered the store in an

employee-only area and exposed himself. The Store Manager called me to explain the situation,

and I instructed him to call the police. By the time the policy arrived at the store, Adam had

already left. Approximately one week later, Adam returned tg the store and accused the Store

Manager of "ruining his life."




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      I declare under penalty of perjury that the foregoing is true and correct.

Executed this 16 day of December 2017.


                                             B
                                                       n Leasure
                                                      istrict Manager
                                                     Bed Bath and Beyond Inc.




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